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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 SONATE CORPORATION, d/b/a        *
 VEGADELPHIA FOODS,               *
                                  *
       Plaintiff,                 *
                                  *
               v.                 *    Civil Action No. 1:23-cv-10690-IT
                                  *
 BEYOND MEAT, INC., a Delaware    *
 Corporation,                     *
                                  *
       Defendant.                 *
                          MEMORANDUM & ORDER

                                           May 23, 2025
TALWANI, D.J.

        Plaintiff Sonate Corporation, d/b/a Vegadelphia Foods (“Vegadelphia”) seeks to compel

production of three documents identified in a report prepared by Defendant Beyond Meat, Inc.’s

(“Beyond”) expert John Plumpe. For the reasons stated below, Vegadelphia’s Motion to Compel

[Doc. No. 164] is DENIED.

   I.        Discussion

        Vegadelphia argues that the three documents contain “admission[s] by Beyond’s own

counsel,” Pl.’s Mem. ISO Mot. to Compel (“Pl.’s Mem.”) at 13 [Doc. No. 166], and must be

disclosed under Federal Rule of Civil Procedure (“Rule”) 26(a)(2)(B) and (b)(4) as facts and data

considered by Plumpe in forming his opinion. Vegadelphia contends that Beyond waived any

claim of privilege; and, in the alternative, that Vegadelphia has a substantial need for the

documents pursuant to Rule 26(b)(3)(A).

        A.      Attorney-Client Privilege

        Permissible discovery under Rule 26 is limited to nonprivileged matters. Fed. R. Civ. P.

26(b)(1). Vegadelphia “does not dispute the documents were initially attorney-client
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communications,” but contends that Beyond has waived any claim to privilege by “having

affirmatively given them to their expert[.]” Pl.’s Mem. at 1 [Doc. No. 166]; id. at 8 (citing, inter

alia, Duane v. Vermont Mut. Ins. Co., 2019 WL 943538, at *4 (D. Mass. Jan. 25, 2019), report

and recommendation adopted, 2019 WL 931969 (D. Mass. Feb. 26, 2019) (“the provision of

materials to a testifying expert witness may result in the waiver of attorney-client and attorney

work product privilege for those materials”)).

       Beyond asserts that the disclosure to its expert was inadvertent, and “it would be

improper for the court to consider the inadvertently produced, clawed-back material” here. Def.’s

Opp. at 3–4 [Doc. No. 167].

       Although the attorney-client privilege may be destroyed by implied waiver through

disclosures to third parties, “courts should be cautious about finding implied waivers.” In re

Keeper of Recs. (Grand Jury Subpoena Addressed to XYZ Corp.), 348 F.3d 16, 23 (1st Cir.

2003). The required “evaluat[ion] in light of principles of logic and fairness . . . demands a

fastidious sifting of the facts and a careful weighing of the circumstances.” Id. Accordingly, the

court considers the record here.

       The three documents at issue were internal email communications produced to

Vegadelphia in March 2024 with the Bates numbers BM0010083, BM0010117, and

BM0014914. See Decl. of Ben Wagner ISO Mot. to Compel (“Wagner Decl.”) ¶¶ 4, 12 [Doc.

No. 164-2]. Because the documents “appeared to be subject to a potential privilege claim[,]”

Vegadelphia alerted Beyond to request clarification as to whether the documents were

inadvertently produced. Id. ¶ 5. Beyond formally clawed back those documents and asked

Vegadelphia’s counsel to confirm that all copies of it were destroyed, which Vegadelphia’s




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counsel did. Decl. of Matthew L. Seror ISO Opp. (“Seror Decl.”) ¶ 12 [Doc. No. 167-2]. 1

Beyond then produced redacted versions of the same documents with new Bates numbers:

BM0024071, BM0024096, and BM0024147, respectively. Id. ¶ 13. As explained by Beyond’s

counsel, Beyond’s discovery platform uses a unique control number to refer to the underlying

document (e.g., REL0000005568), even though it may have multiple Bates numbers associated

with it due to multiple productions (e.g., BM0010083 and BM0024071). Id. ¶¶ 6, 14. When later

selecting these documents from the discovery platform to produce to Plumpe, Beyond’s counsel

viewed and intended to produce the redacted versions provided to Vegadelphia (BM0024071,

BM0024096, and BM0024147). Id. ¶¶ 20–21. However, by counsel tagging the documents in the

discovery platform by their control numbers rather than their Bates stamps, the platform

produced the clawed-back versions (BM0010083, BM0010117, and BM0014914) rather than the

redacted versions. Id. ¶¶ 4–7, 14–22.

        Based on these facts and circumstances, the court finds that the documents’ disclosure to

Plumpe was inadvertent and did not constitute an implied waiver of attorney-client privilege.

        B.      Facts or Data Considered by Plumpe

        Although parties generally are not required to disclose “documents and tangible things

that are prepared in anticipation of litigation . . . by or for a party or a party’s representative[,]”

Fed. R. Civ. P. 26(b)(3)(A), an expert is required to disclose “the facts or data considered by

[him] in forming [his opinions,]” Fed. R. Civ. P. 26(a)(2)(B)(ii), including communications

between a party’s attorney and an expert that “identify facts or data that the party’s attorney



1
  The Stipulated Protective Order in this case provides that if privileged material is
“inadvertently or unintentionally produced, such production shall in no way prejudice or
otherwise constitute a waiver of, or estoppel as to, any such privilege[.]” Stipulated Protective
Order ¶ 21 [Doc. No. 99].

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provided and that the expert considered in forming the opinions to be expressed[,]” Fed. R. Civ.

P. 26(b)(4)(C)(ii) (emphasis added). 2

       No First Circuit authority has addressed what “considered” means in this context, but

courts in this district have construed it to encompass “all materials that an expert creates,

reviews, reads, or uses in connection with formulating an opinion, even if the expert does not

utilize information from the materials.” Clark v. Edison, 2010 WL 3245428, at *3 (D. Mass.

Aug. 16, 2010) (emphasis added).

       Plumpe’s Expert Report contains a “List of Documents Considered,” with the last page

listing documents under the subheading “Documents Produced in the Proceedings.” Decl. of

John G. Plumpe (“Plumpe Decl.”) ¶¶ 5–6 [Doc. No. 167-1]. 3 Plumpe, in a sworn declaration,

explains that his firm stored all litigation documents provided by counsel in a folder on the firm’s

computer system and then used an automated software process to add the Bates number

associated with each file in the folder to the end of Plumpe’s report. Id. Plumpe’s firm uses this

automated process regardless of whether Plumpe has actually read the document. Id. ¶ 6. Plumpe

attests “with certainty that [he] did not read the redacted or unredacted versions of the [three

documents at issue], as of the date of [his] report.” Id. ¶ 3. In the over 400 footnotes throughout

his report, he cites the specific materials he relied on in developing the opinions in his report, and

none of those footnotes cites to the documents at issue here. Id. ¶ 6.




2
 It is unclear if Vegadelphia is implying the attorney-client communications contained in the
emails were converted to work product once the emails were given to Plumpe or conflating the
work product and attorney-client privilege in its discussion of Rule 26(b)(4). See Pl.’s Mem. at 5,
6 [Doc. No. 166].
3
 The documents under this subheading are listed according to the “document identifier” for each
document, which is the “Bates Number associated with” it. Id. ¶ 5.

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       Vegadelphia cites one somewhat analogous case. 4 In Trustees of Bos. Univ. v. Everlight

Elecs. Co., 2015 WL 13679784 (D. Mass. Oct. 20, 2015), the court considered whether certain

documents, which contained testing data and were protected under the work product doctrine,

had been considered by an expert so as to require disclosure under Rule 26(b)(4)(C)(ii). Id. at

*3–4. The court noted that “the caselaw is not uniform regarding what constitutes consideration

by an expert[,]” and “agree[d] with those courts that have found that the expert must have at least

read or reviewed a document to trigger the disclosure requirement.” Id. at *4 (emphasis added).

Although the expert attested that she had received the two documents at issue, “that she does not

recall ever opening one” of them, and “that she opened the other document but did not bother to

read it or understand it because she was not familiar with it[,]” the court found that she had

considered the documents and ordered the documents produced pursuant to Rule 26. Id.

       There are, however, two key distinctions. First, in Trustees of Bos. Univ., the expert “did

not categorically deny reading or reviewing the documents.” Id. Here, in contrast, Plumpe

affirmatively stated, “with certainty,” that he “did not read the redacted or unredacted versions”

of the documents at issue. Plumpe Decl. ¶ 3 [Doc. No. 167-1].

       Second, in Trustees of Bos. Univ., the attorney-work product documents contained

testing results, leading the court to find it unlikely that counsel would send testing results to an

expert without intending for her to review them. 2015 WL 13679784, at *4. Here the documents




4
  In Vegadelphia’s other cases, there was no dispute as to whether the testifying expert
considered or relied on the materials at issue. See, e.g., Suskind v. Home Depot Corp., 2001 WL
92183, at *1 (D. Mass. Jan. 2, 2001) (addressing “materials furnished to a testifying expert,
including those composed by the attorney who retained the expert, which the expert received and
read in connection with the instant case”); Duane, 2019 WL 943538, at *5 (“there is no doubt
that Todd based his expert report in part on communications with [counsel]”).

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were attorney-client privileged communications that this court finds were inadvertently provided

to the expert.

        The court finds here that Plumpe did not review the documents, much less “consider”

them, so as to trigger the disclosure requirements of Rule 26. 5

        C.       Substantial Need and Undue Hardship

        Vegadelphia argues in the alternative that, “even had it not been read or reviewed,

production would still be mandated under the [] ‘undue hardship’ exception of Rule

26(b)(3)(A).” Pl.’s Mem. at 11 [Doc. No. 166]. Under that provision of Rule 26, “documents and

tangible things that are prepared in anticipation of litigation or for trial by or for another party or

its representative,” which are otherwise undiscoverable, may be discovered if “the party shows

that it has substantial need for the materials to prepare its case and cannot, without undue

hardship, obtain their substantial equivalent by other means.” Fed. R. Civ. P. 26(b)(3)(A)(ii).

        The substantial-need exception applies on its face to documents protected under the work

product doctrine. See United States v. Textron Inc. & Subsidiaries, 577 F.3d 21, 27 (1st Cir.

2009) (“When in 1970 the Supreme Court through the rule-making process codified the work

product privilege in Rule 26(b)(3), it described the privilege as extending to documents and other

tangible things that ‘are prepared in anticipation of litigation or for trial.’”).




5
  Vegadelphia contends that “ambiguities regarding an expert’s review of a document are
resolved in favor of discovery.” Pl.’s Mem. at 9–10 [Doc. No. 166]. But one of the two cases
they cite for this proposition concerned the “ambiguity as to the role played by the expert” when
that expert served both as a consulting and testifying expert. Traverse v. Gutierrez Co., 2020 WL
9602037, at *5 (D. Mass. Apr. 10, 2020). And the other noted, as in Trustees of Bos. Univ., that
“there is not an assertion from [the expert] that he did not consider his score sheets and notes in
forming his rebuttal opinions.” In re Davol, Inc./C.R. Bard, Inc., Polypropylene Hernia Mesh
Prods. Liab. Litig., 2021 WL 2280657, at *3 (S.D. Ohio June 4, 2021). Thus, neither is
applicable.

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          The only case Vegadelphia cites concerning this exception has no application here

because it involved documents whose privilege was waived by being placed at issue in the case.

Micron Separations, Inc. v. Pall Corp., 159 F.R.D. 361, 362 (D. Mass. 1995) (considering

whether plaintiff, “having raised the defense of reliance on an opinion of counsel to a charge of

wilful infringement, must produce documents which otherwise would be protected by . . . Rule

26(b)(3)”). The court finds Vegadelphia has not shown a substantial need for the documents

where they do not constitute facts and data considered by the expert. Moreover, Vegadelphia’s

request for material to use as “admission[s] by Beyond’s own counsel,” Pl.’s Mem. at 13 [Doc.

No. 166], ignores this court’s obligation, in the event it orders discovery of work product

materials, to “protect against disclosure of the mental impressions, conclusions, opinions, or

legal theories of a party’s attorney or other representative concerning the litigation[,]” Fed. R.

Civ. P. 26(b)(3)(B).

    II.      Conclusion

          For the foregoing reasons, Vegadelphia’s Motion to Compel [Doc. No. 164] is DENIED.

Beyond is directed, however, to serve within 14 days of entry of this order an amended Expert

Report that corrects the “List of Documents Considered” to reflect those documents actually

considered by Plumpe, rather than a computer-generated list of documents contained in a

particular file.

          IT IS SO ORDERED.

          May 23, 2025                                /s/ Indira Talwani
                                                      United States District Judge




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